
BARFIELD, Judge.
Among the numerous issues raised in these consolidated appeals, we find no reversible error except in the trial court’s entry of judgment against Beech Aircraft Corporation on Folsom’s contribution claim in David Creamer’s personal injury suit. Beech had not been named as a party to this suit, notwithstanding the consolidation of the three cases for trial, and did not at any time waive its non-party status in the personal injury suit.
Paragraph five of the trial court’s final judgment, awarding Folsom $5,250.00 on his contribution claim against Beech Aircraft Corporation, is REVERSED. The judgment is otherwise AFFIRMED.
ERVIN and BOOTH, JJ., concur.
